   Case 2:16-cr-00055-DWA
         I                Document 57 Filed 09/28/18 Page 1 of 1
    Caseb:16-cr-00055-DWA Document 56-1 Filed 09/27/18 Page 1 of 1



                                                 IN THE UNITED STATES DISTRICT COURT
                                              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED SfATES OF AMERICA                                                          )
                                                                                  ) Criminal No. 16-055
             I,
              I                          V.                                       ) Case No. 2: 16-cr-00055-DWA
                                                                                  ) The Honorable Donetta W. Ambrose
SIMONTUSHA                                                                        )



                  i                                     .   ORDER
                  I
        AND NOW, to-wit, this                          2,f{j7'   dayof ~ . 2 0 1 8 , u p o n
                  I



consideratioh of Defendant Simon Tusha's Motion To Continue Sentencing, it is hereby

ORDERED/that said Motion is hereby GRANTED, and the Sentence, now scheduled for

October I , 20 I 8, is hereby continued until                    j     ®\i\'4 ;'.;! ,         iJ- \0 \5
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        IT IS ':FURTHER ORDERED that the extension of time caused by this
                      I,

continuance \from the date of this Order, to the date of the rescheduled Sentence), be
                          I
deemed exclt.idable delay under the Speedy Trial Act 18 U.S.C. § 3161 et. seq.
                           !
                           I


Specifically, the Court finds that the ends of justice served by granting this continuance
                           I
outweigh the best
             I
                  interest of the public and the defendant to a speedy trial, 18 U .S .C. §
                               I
3161 (h) (7) (f,.), since, for the reasons stated in Defendant's Motion, the failure to grant
                               I
                               '1


such continuance would deny counsel for the Defendant reasonable time necessary for
                                I,

                                I                                                             .
effective prep~ation, taking into account the exercise of due diligence. 18 U.S.C. § 3161
                                     I
                                     I


(h) (7) (B)(iv)'.




                                                                     Donetta W. Ambrose
                                                                     United States District Judge
